                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE
                                      GREENEVILLE DIVISION

   UNITED STATES OF AMERICA,                              )
                                                          )
                                                          )         2:14-CR-000125-DCLC-CRW
                   Plaintiff,                             )
                                                          )
           v.                                             )
                                                          )
   DEVIN DUANE STOUT,                                     )
                                                          )
                   Defendant.                             )


                                       MEMORANDUM OPINION

          Before the Court is Defendant’s pro se Motion to Reduce Sentence under United States

  Sentencing Guideline Amendment 821 [Doc. 45]. Pursuant to Standing Order 24-05, Federal

  Defender Services of Eastern Tennessee has filed a notice that it does not intend to file a

  supplemental motion at this time [Doc. 46].

  I.      BACKGROUND

           On April 2, 2015, Defendant pleaded guilty to one count being a felon in possession of a

  firearm [Docs. 13, 16]. Based on a total offense level of 34 and a criminal history category of VI,

  Defendant’s guideline range was 262 to 327 months [Doc. 18, ¶ 89]. However, because of the 10-

  year statutory maximum, Defendant’s guideline range was 120 months. See U.S.S.G. § 5G1.1(a).

  Pursuant to Fed.R.Crim.P. 11(c)(1)(C), the Court sentenced Defendant to an agreed-upon sentence

  of 100 months [Doc. 13, ¶ 6; Doc. 34, pg. 2]. Defendant is currently housed at USP Atwater with

  a    projected   release      date   of   January       18,   2030.   See   Bureau   of   Prisons,

  https://www.bop.gov/inmateloc/ (last visited July 9, 2024). He now seeks a sentence reduction

  pursuant to Guideline Amendment 821 [Doc. 45].


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  II.    ANALYSIS

          “A district court may modify a defendant’s sentence only as provided by statute.” United

  States v. Johnson, 564 F.3d 419, 421 (6th Cir. 2009) (citation omitted). Relevant here, 18 U.S.C.

  § 3582(c)(2) authorizes a court to impose a sentence reduction when a defendant “has been

  sentenced to a term of imprisonment based on a sentencing range that has subsequently been

  lowered by the Sentencing Commission . . . after considering the factors set forth in [18 U.S.C. §

  3553(a)] to the extent that they are applicable, if such a reduction is consistent with applicable

  policy statements issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(2).

         Amendment 821, which took effect on November 1, 2023, altered the application of the

  guidelines with respect to offenders who earned criminal history “status” points based on the

  commission of an offense while serving a criminal justice sentence or offenders with zero criminal

  history points at the time of sentencing (“zero-point offenders”). Relevant here, Amendment 821

  amended U.S.S.G. § 4A1.1 to reduce or eliminate status points. Specifically, status points are

  eliminated for defendants with six or less criminal history points, and one status point, rather than

  two, are applied for defendants with more than six criminal history points.

         At the time of sentencing, Defendant’s subtotal criminal history score was 15 and he

  received two additional status points for committing the offense while under a criminal justice

  sentence for Washington County Criminal Court [Doc. 18, ¶ 58]. If sentenced today, Defendant

  would receive one status point under U.S.S.G. § 4A1.1, resulting in a total of 16 criminal history

  points instead of 17. But Defendant would still be in criminal history category IV and his guideline

  range would be the same. Accordingly, Defendant is ineligible for a sentence reduction under 18

  U.S.C. § 3582(c)(2).




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  III.   CONCLUSION

         For the reasons stated herein, Defendant’s motion [Doc. 45] is DENIED.

         SO ORDERED:

                                            s/ Clifton L. Corker
                                            United States District Judge




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